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  8                           UNITED STATES DISTRICT COURT
  9                        SOUTHERN DISTRICT OF CALIFORNIA
 10                     (HONORABLE BARRY TED MOSKOWITZ, JUDGE)
 11   UNITED STATES OF AMERICA,        )                Criminal Case No. 08CR4406
                                        )
 12                     Plaintiff,      )
                                        )               JOINT MOTION TO CONTINUE
 13         v.                          )               SENTENCING HEARING
                                        )
 14   JOSE FLORES, JR.,                 )
                                        )
 15                     Defendant.      )
      _________________________________)
 16
 17          IT IS HEREBY ORDERED, based upon the foregoing Joint Motion and good cause
 18   shown, that the sentencing date of defendant JOSE FLORES, JR. in the above-entitled
 19   case be and is hereby continued from Friday, February 23, 2010 at 9:00 a.m. to Friday, June 25,
 20   2010 at 10:30 a.m.
 21
             SO ORDERED.
 22
 23   DATED: February 2, 2010
 24
 25                                               Honorable Barry Ted Moskowitz
                                                  United States District Judge
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